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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



 ___________________________________
                                       )
                                       )
     Rodney Lail, et al.,              )
                                       )
           Plaintiffs,                 )
                                       )                    C.A. No. 10-CV-210-PLF
                  v.                   )
                                       )
     United States Government, et al., )
                                       )
                                       )
           Defendants.                 )
                                       )
                                       )
                                       )


 MOTION OF PRO SE PLAINTIFFS FOR A STAY OF TIME TO FILE A RESPONSE
  TO DEFENDANDS’ MOTIONS TO DISMISS, DOCUMENT NUMBER 19 AND
    DOCUMENT NUMBER 24 UNTIL COURT DECIDES PENDING ISSUES


       Pursuant to Local Rules LCv7(m), Pro Se Plaintiffs attempted to gain consent for

expansion of time from Counsels for the Defendants through both telephone calls and e-mail.

Defendants’ Counsel Oliver Garcia was unavailable by telephone and has not responded by e-

mail. Defendants’ Counsel Monte Fried stated on the telephone he was not comfortable dealing

with Pro Se litigants and when he made a decision as to the request for extension of time, at

some undefined date, he would be back in touch by e-mail, but in any event in the interim he was

going out of town.



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                              BACKGROUND AND DISCUSSION

       While the Pro Se Plaintiffs Motion, Document No. 10 filed on June 30, 2010, is pending

before the Court, Defendants including the State of South Carolina and other state and local

governmental entities, Palmetto Health and their personnel named as Defendants are using the

same legal counsels in this litigation seeking a dismissal (See Document No. 19). Setting aside

for the moment the argument that state funds are being used to represent a private entity that

itself generates over a billion dollars of revenue annually, in a conspiracy lawsuit, the potential

conflict of interest itself between the public and private entities represented by a common

counsel is a determent to the Plaintiffs. Significantly, this common legal representation raises

the public questions of misuse of government resources and the public perception of why

governmental entities would have common interests with private players in a racketeering

lawsuit.

       The decision of this Court regarding the Plaintiffs Motion as contained in Document 10

in any event will lead to irreversible legal tactical decisions by the Plaintiffs. In a related matter,

the United States Supreme Court ruled:

      “The Government with its greater resources and expertise can in effect coerce
      compliance with its position. Where compliance is coerced, precedent may be
      established on the basis of an uncontested order rather than the thoughtful
      presentation and consideration of opposing views. In fact, there is evidence that
      small businesses are the target of agency action precisely because they do not have
      the resources to fully litigate the issue. This kind of truncated justice undermines the
      integrity of the decision-making process.

      “The exception created by [the EAJA] focuses primarily on those individuals for
      whom cost may be a deterrent to vindicating their rights. The bill rests on the
      premise that a party who chooses to litigate an issue against the Government is not
      only representing his or her own vested interest but is also refining and formulating
      public policy. An adjudication or civil action provides a concrete, adversarial test of
      Government regulation and thereby insures the legitimacy and fairness of the law.
      An adjudication, for example, may show that the policy or factual foundation
      underlying an agency rule is erroneous or inaccurate, or it may provide a vehicle for

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      developing or announcing more precise rules. . . . Where parties are serving a public
      purpose, it is unfair to ask them to finance through their tax dollars unreasonable
      Government action and also bear the costs of vindicating their rights.” Id., at 10.
      Comm’r v. Jean, 496 U.S. 154, 165 (U.S. 1990)


        In this case the Defendant State of South Carolina has maliciously and wrongfully

abducted without due process 93 year old Plaintiff Doris Holt almost immediately after the

filing of the required tort notice notifying the State of South Carolina they were to be

named in a tort action. On January 4, 2010, Plaintiff Doris Holt disappeared completely

and has been kept in isolation, if she is still alive, in an attempt to stop the filing of this

lawsuit. The legal action in family court regarding Plaintiff Doris Holt ended on March 22,

2010. Her son, Plaintiff James Spencer, was an Intervenor in that case after the SC State

Agency admitted on the Family Court record their allegations against Spencer were

unfounded as there was in fact no evidence of physical abuse by Plaintiff Spencer. SC

DSS’s original allegation (not a charge) was the basis for Spencer’s removal as Plaintiff

Doris Holt’s self appointed durable power of attorney and power health care attorney.

According to South Carolina Rules of Civil procedure, an Order is to be executed within

thirty (30) days of the hearing (See Attachment “A”). To date despite repeated requests

by the Intervenor, her son Plaintiff James Spencer, the South Carolina Family Court has

not issued an Order which prevents an appeal, but it is now Plaintiff Spencer’s position

since the verbal order was issued in Court he has in fact been reinstated as his mother’s

duly appointed durable power of attorney and power of health care attorney..

        In this regard, please note Defendant UniHealth and Brenda Hughes in Document

No. 24 are attempting to use the question of the rightful use of Doris Holt’s Power of

Attorney to question the legitimacy of Doris Holt being a Plaintiff despite the fact this



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Court has recently “Sua Sponte” added Doris Holt as a Plaintiff in this proceeding.

Subsequently this apparent confusion leads to difficulty for Plaintiffs addressing issues

raised in Document 19 and Document 24 by the Defendants.

       Additionally, Defendants in Document 24 interchange the name of Plaintiff

Spencer and Defendant Stewart to the point that Document 24 cannot be properly

addressed by Plaintiffs as it is confusing, inconsistent and inaccurate.

                                         RELIEF SOUGHT

       Pro Se Plaintiffs respectfully pray the Court to rule in the interests of justice and as

requested by Plaintiffs in Document 10 and herein to:

       1. Grant Pro Se Plaintiffs request for appointment of competent Pro Bono Counsel

           to represent Pro Se Plaintiffs in this litigation.

       2. Order immediate access to Plaintiff Doris Holt to determine her medical

           condition and allow unfettered access of independent medical personnel to her

           and her medical records, and access to her family, friends and legal counsel in

           accordance with the State laws of South Carolina. (See Attachment “B”)

       3. Review the Conflict of Interests and propriety of representation by the same

           counsel in these matters as outlined herein above and if found to take such

           action as the Court deems appropriate.

       4. Order the Defendants to redraft Document No. 24 into an understandable

           format using the correct names, dates and facts.

       5. Grant Plaintiffs a stay to respond to Defendant Document 19 and Document 24

           until 14 days after the Court rules on Plaintiffs Document No. 10 and the




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                                                                                                ATTACHMENT "A"




                                                   1 of 1 DOCUMENT

                              CODE OF LAWS OF SOUTH CAROLINA ANNOTATED
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                      *** This document reflects changes received through October 15, 2009 ***

                               SOUTH CAROLINA RULES OF FAMILY COURT
                     III. PROVISIONS APPLICABLE TO DOMESTIC RELATIONS ACTIONS

                                                 Rule 26, SCRFC (2009)

Review Court Orders which may amend this Rule.

RULE 26. ORDERS

  (a) Findings of Fact. An order or judgment pursuant to an adjudication in a domestic relations case shall set forth the
specific findings of fact and conclusions of law to support the court's decision.

     (b) Certification. By signing his name to an order in a domestic relations case, the judge certifies compliance with
this rule.

     (c) Time for Issuing. Except under exceptional circumstances, an order in a domestic relations case shall be issued
as soon as possible after the hearing, but not later than 30 days thereafter.
S.C. Code of Laws Title 44 Chapter 81 Bill Of Rights For Residents Of Long-term Care Facilities - www.scstatehouse.gov-LPITS
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            HOME                                     HOUSE    SENATE        CURRENT LEGISLATION         RESEARCH       PUBLICATIONS        CITIZENS' INTEREST        ARCHIVES

                                                                                                               

                                                  What's New?
                                                                                Home > Code of Laws Title/Chapter List > Title 44
                                                                                                                                                ATTACHMENT "B"
                                                      Quick Links                                             South Carolina Code of Laws
                                                  Quick Search                                                      (Unannotated)
                                                                                                      Current through the end of the 2009 Session

                                                                                                                          DISCLAIMER
                           Legislative Resources
                           Purchase Legislative                                 The South Carolina Legislative Council is offering access to the unannotated South
                           Manuals Online                                       Carolina Code of Laws on the Internet as a service to the public. The unannotated South
                                                                                Carolina Code on the General Assembly's website is now current through the 2009
                          Find Your Legislator                                  session. The unannotated South Carolina Code, consisting only of Code text and
                          Bill Tracking & Reports                               numbering, may be copied from this website at the reader's expense and effort without
                          Multi-Criteria Search                                 need for permission.
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                          Handheld Devices                                      The Legislative Council is unable to assist users of this service with legal questions. Also,
                          Wireless Network                                      legislative staff cannot respond to requests for legal advice or the application of the law to
                          Student Connection                                    specific facts. Therefore, to understand and protect your legal rights, you should consult
                          Remote Staff Services                                 your own private lawyer regarding all legal questions.

                                                                                While every effort was made to ensure the accuracy and completeness of the unannotated
                                                                                South Carolina Code available on the South Carolina General Assembly's website, the
                           SC Code of Laws                                      unannotated South Carolina Code is not official, and the state agencies preparing this
                                                  Search Full Text              website and the General Assembly are not responsible for any errors or omissions which
                                                  Title/Chapter List            may occur in these files. Only the current published volumes of the South Carolina Code
                                                                                of Laws Annotated and any pertinent acts and joint resolutions contain the official version.

                                                                                Please note that the Legislative Council is not able to respond to individual inquiries
                           SC Code of Regulations                               regarding research or the features, format, or use of this website. However, you may
                                                  Search Full Text              notify Legislative Printing, Information and Technology Systems at
                                                                                LPITS@scstatehouse.gov regarding any apparent errors or omissions in content of Code
                                                  Chapter List
                                                                                sections on this website, in which case LPITS will relay the information to appropriate staff
                                                                                members of the South Carolina Legislative Council for investigation.

                           SC Constitution                                                                             Title 44 - Health
                                                  Search Full Text                                                        CHAPTER 81.
                                                  Article List
                                                                                            BILL OF RIGHTS FOR RESIDENTS OF LONG-TERM CARE FACILITIES

                                                                                SECTION 44-81-10. Short title.

                                                                                This act may be cited as the "Bill of Rights for Residents of Long-Term Care Facilities".

                                                                                SECTION 44-81-20. Legislative findings.

                                                                                The General Assembly finds that persons residing within long-term care facilities are
                                                                                isolated from the community and often lack the means to assert their rights fully as
                                                                                individual citizens. The General Assembly recognizes the need for these persons to live
                                                                                within the least restrictive environment possible in order to retain their individuality and
                                                                                personal freedom. The General Assembly further finds that it is necessary to preserve the
                                                                                dignity and personal integrity of residents of long-term care facilities through the
                                                                                recognition and declaration of rights safeguarding against encroachments upon each
                                                                                resident's need for self-determination.

                                                                                SECTION 44-81-30. Definitions.

                                                                                As used in this chapter:

                                                                                (1) "Long-term care facility" means an intermediate care facility, nursing care facility, or
                                                                                residential care facility subject to regulation and licensure by the State Department of



http://www.scstatehouse.gov/code/t44c081.htm[3/27/2010 2:47:30 PM]
S.C. Code of Laws Title 44 Chapter 81 Bill Of Rights For Residents Of Long-term Care Facilities - www.scstatehouse.gov-LPITS
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                                             Health and Environmental Control (department).

                                             (2) "Resident" means a person who is receiving treatment or care in a long-term care
                                             facility.

                                             (3) "Representative" means a resident's legal guardian, committee, or next of kin or other
                                             person acting as agent of a resident who does not have a legally appointed guardian.

                                             SECTION 44-81-40. Rights of residents; written and oral explanation required.

                                             (A) Each resident or the resident's representative must be given by the facility a written
                                             and oral explanation of the rights, grievance procedures, and enforcement provisions of
                                             this chapter before or at the time of admission to a long-term care facility. Written
                                             acknowledgment of the receipt of the explanation by the resident or the resident's
                                             representative must be made a part of the resident's file. Each facility must have posted
                                             written notices of the residents' rights in conspicuous locations in the facility. The written
                                             notices must be approved by the department. The notices must be in a type and a format
                                             which is easily readable by residents and must describe residents' rights, grievance
                                             procedures, and the enforcement provisions provided by this chapter.

                                             (B) Each resident and the resident's representative must be informed in writing, before or
                                             at the time of admission, of:

                                             (1) available services and of related charges, including all charges not covered under
                                             federal or state programs, by other third party payers, or by the facility's basic per diem
                                             rate;

                                             (2) the facility's refund policy which must be adopted by each facility and which must be
                                             based upon the actual number of days a resident was in the facility and any reasonable
                                             number of bed-hold days.

                                             Each resident and the resident's representative must be informed in writing of any
                                             subsequent change in services, charges, or refund policy.

                                             (C) Each resident or the resident's legal guardian has the right to:

                                             (1) choose a personal attending physician;

                                             (2) participate in planning care and treatment or changes in care and treatment;

                                             (3) be fully informed in advance about changes in care and treatment that may affect the
                                             resident's well-being;

                                             (4) receive from the resident's physician a complete and current description of the
                                             resident's diagnosis and prognosis in terms that the resident is able to understand;

                                             (5) refuse to participate in experimental research.

                                             (D) A resident may be transferred or discharged only for medical reasons, for the welfare
                                             of the resident or for the welfare of other residents of the facility, or for nonpayment and
                                             must be given written notice of not less than thirty days, except that when the health,
                                             safety, or welfare of other residents of the facility would be endangered by the thirty-day
                                             notice requirement, the time for giving notice must be that which is practicable under the
                                             circumstances. Each resident must be given written notice before the resident's room or
                                             roommate in the facility is changed.

                                             (E) Each resident or the resident's representative may manage the resident's personal
                                             finances unless the facility has been delegated in writing to carry out this responsibility, in
                                             which case the resident must be given a quarterly report of the resident's account.

                                             (F) Each resident must be free from mental and physical abuse and free from chemical
                                             and physical restraints except those restraints ordered by a physician.

                                             (G) Each resident must be assured security in storing personal possessions and
                                             confidential treatment of the resident's personal and medical records and may approve or
                                             refuse their release to any individual outside the facility, except in the case of a transfer
                                             to another health care institution or as required by law or a third party payment contract.

                                             (H) Each resident must be treated with respect and dignity and assured privacy during
                                             treatment and when receiving personal care.

                                             (I) Each resident must be assured that no resident will be required to perform services for



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S.C. Code of Laws Title 44 Chapter 81 Bill Of Rights For Residents Of Long-term Care Facilities - www.scstatehouse.gov-LPITS
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                                             the facility that are not for therapeutic purposes as identified in the plan of care for the
                                             resident.

                                             (J) The legal guardian, family members, and other relatives of each resident must be
                                             allowed immediate access to that resident, subject to the resident's right to deny access
                                             or withdraw consent to access at any time. Each resident without unreasonable delay or
                                             restrictions must be allowed to associate and communicate privately with persons of the
                                             resident's choice and must be assured freedom and privacy in sending and receiving mail.
                                             The legal guardian, family members, and other relatives of each resident must be allowed
                                             to meet in the facility with the legal guardian, family members, and other relatives of
                                             other residents to discuss matters related to the facility, so long as the meeting does not
                                             disrupt resident care or safety.

                                             (K) Each resident may meet with and participate in activities of social, religious, and
                                             community groups at the resident's discretion unless medically contraindicated by written
                                             medical order.

                                             (L) Each resident must be able to keep and use personal clothing and possessions as
                                             space permits unless it infringes on another resident's rights.

                                             (M) Each resident must be assured privacy for visits of a conjugal nature.

                                             (N) Married residents must be permitted to share a room unless medically contraindicated
                                             by the attending physician in the medical record.

                                             (O) A resident or a resident's legal representative may contract with a person not
                                             associated with or employed by the facility to perform sitter services unless the services
                                             are prohibited from being performed by a private contractor by state or federal law or by
                                             the written contract between the facility and the resident. The person, being a private
                                             contractor, is required to abide by and follow the policies and procedures of the facility as
                                             they pertain to sitters and volunteers. The person must be selected from an approved list
                                             or agency and approved by the facility. All residents or residents' legal representatives
                                             employing a private contractor must agree in writing to hold the facility harmless from
                                             any liability.

                                             SECTION 44-81-50. Discrimination.

                                             Each resident must be offered treatment without discrimination as to sex, race, color,
                                             religion, national origin, or source of payment.

                                             SECTION 44-81-60. Grievance procedures; review by department.

                                             Each facility shall establish grievance procedures to be exercised by or on behalf of the
                                             resident to enforce the rights provided by this act. The department shall review and
                                             approve these grievance procedures annually. This act is enforced by the department. The
                                             department may promulgate regulations to carry out the provisions of this act.

                                             SECTION 44-81-70. Retaliation.

                                             No facility by or through its owner, administrator, or operator, or any person subject to
                                             the supervision, direction, or control of the owner, administrator, or operator shall
                                             retaliate against a resident after the resident or the resident's legal representative has
                                             engaged in exercising rights under this act by increasing charges, decreasing services,
                                             rights, or privileges, or by taking any action to coerce or compel the resident to leave the
                                             facility or by abusing or embarrassing or threatening any resident in any manner.




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